         Case 1:24-bk-10228-VK                          Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                    Desc
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  Fi ll in th i s information to ident i fy the case:

  Debtor name        Mr. Tortilla, Inc.

  United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

  Case number (if known)      1 :24-bk-10228-VK
                                                                                                                             □ Check if this s an
                                                                                                                                               i

                                                                                                                                  amended fil ing



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud Is a serio1,1s crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature


       I am the president. another officer. or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       i ndi v i dual servi ng as a representati ve of the debtor i n this case.


       I have examined the informati on in the documents checked below and I have a reasonable beli ef that the informati on is true and correct:

        ■        Schedule AIB: Assets-Real and Personal Property (Official Form 206NB)
        ■        Schedule D: Creditors Who Have Claims Secured by Property (Offici al Form 206D)
        ■        Schedule EJF: Creditors Who Have Unsecured Claims (Offici al Form 206E/F)
        ■        Schedule G: Executory Contracts and Unexpired Leases (Offici al Form 206G)
        ■        Schedule H: Codebtors (Official Form 206H)
        ■       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ■       Amended Schedule      Amended List of 20 Largest Unsecured
        ■       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Offici al Form 204)
        ■       Other document that requires a declaration        Amended Verification and Mailing Matrix

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on          2-28-24
                                                                  - _ at_ ur
                                                              -S�ign      - e_ _ of� -  - � � � - � - � - _ _ _ _ e_ h� al
                                                                                     i n di vi dual sig n i n� g on b
                                                                                                                                 � � - _ _______________
                                                                                                                        - =f-of�de btor

                                                              Anthon Alcazar
                                                              Printed name

                                                              President
                                                              Positi on or relationshi p to debtor




Offici al Form 202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 1:24-bk-10228-VK              Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                  Desc
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 Fill in this information to identify the case:
 Debtor name Mr. Tortilla, Inc.
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                                CALIFORNIA
 Case number (if known):         1:24-bk-10228-VK                                                                                            amended filing




Official Form 204
AMENDED Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders
                              12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 8Fig, Inc.                                          Merchant Cash             Disputed                    $299,590.14                        $0.00            $299,590.14
 11801 Domain Blvd,                                  Advance
 Third Floor
 Austin, TX 78758
 Blue Bridge                                         Model TCO-400 3 Unliquidated                          $212,460.92                 $25,000.00              $187,460.92
 Financial, Inc.                                     Layer Flour
 11921 Freedom                                       Tortilla Oven, Gas
 Drive, Suite 1130                                   Fired SN:
 Reston, VA 20190                                    BBD3969
 Bluevine                                            Merchant Cash                                         $180,356.88                        $0.00            $180,356.88
 30 Montgomery                                       Advance
 Street, Ste 1400
 Jersey City, NJ
 07302
 Cedar Advance                                       Merchant Cash                                         $300,000.00                        $0.00            $300,000.00
 2917 Avenue I                                       Advance
 Brooklyn, NY 11210
 EasyPost                                            Vendor                                                                                                    $571,894.85
 2889 Ashton
 Boulevard, Suite 325
 Lehi, UT 84043
 Facebook                                            Vendor                                                                                                    $368,070.85
 1601 Willow Road
 Menlo Park, CA
 94025
 Fleetcor                                            Credit Card                                                                                               $197,636.16
 Technologies Inc.
 3280 Peachtree
 Road, Ste 2400
 Atlanta, GA 30305
 Greenberg Traurig                                   Vendor                                                                                                    $538,200.44
 1840 Century Park
 East, Ste 1900
 Los Angeles, CA
 90067



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 1:24-bk-10228-VK              Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                  Desc
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 Debtor    Mr. Tortilla, Inc.                                                                        Case number (if known)         1:24-bk-10228-VK
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Huntington Valley                                   Merchant Cash                                         $185,464.12                        $0.00            $185,464.12
 Bank                                                Advance
 990 Spring Garden
 Street 700
 Philadelphia, PA
 19123
 Internal Revenue                                    Tax obligation                                                                                            $713,702.51
 Service
 P O Box 7346
 Philadelphia, PA
 19101-7346
 Jeeves                                              Credit Card                                                                                               $172,419.46
 2035 Sunset Lake
 Rd. Suite B-2
 Newark, DE 19702
 Lyneer Staffing                                     Vendor                                                                                                    $176,748.74
 1011 Whitehead Rd
 Ext
 Trenton, NJ 08638
 Metropolitan Capital                                Merchant Cash                                         $252,670.14                        $0.00            $252,670.14
 Bank & Trust                                        Advance
 9 East Ontario
 Street
 Chicago, IL 60611
 Parker Group, Inc.                                  Credit Card                                                                                               $354,883.23
 2261 Market Street,
 #4106
 San Francisco, CA
 94114
 Parkside Funding                                    Merchant Cash             Disputed                    $561,867.12                        $0.00            $561,867.12
 Group LLC                                           Advance
 865 Nj-33 Business
 3 Unit 192
 Freehold, NJ 07728
 Partners Personnel                                  Merchant Cash                                         $289,674.79                        $0.00            $289,674.79
 Management                                          Advance
 Services, LLC
 3820 State Street,
 Ste B
 Santa Barbara, CA
 93105
 Partnership Staffing                                Vendor                                                                                                    $159,436.60
 1230 San Fernando
 Rd. Suite K
 San Fernando, CA
 91340
 Ramp                                                Credit Card                                                                                               $302,708.98
 28 West 23rd Street,
 Floor 2
 Washington, DC
 20020



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                    Case 1:24-bk-10228-VK              Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                  Desc
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 Debtor    Mr. Tortilla, Inc.                                                                        Case number (if known)         1:24-bk-10228-VK
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Sand Park Capital                                   Merchant Cash                                      $4,654,334.00                         $0.00          $4,246,379.94
 LLC                                                 Advance
 2917 Avenue I
 Brooklyn, NY 11210
 Slope Advance                                       Merchant Cash                                         $282,898.07                        $0.00            $282,898.07
 7 Freelon Street                                    Advance
 San Francisco, CA
 94107




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
           Case 1:24-bk-10228-VK                     Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                Desc
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                                                       United States Bankruptcy Court
                                                              Central District of California
   In re    Mr. Tortilla, Inc.                                                                                     Case No.      1:24-bk-10228-VK
                                                                                 Debtor(s)                         Chapter      _1_1__________

                                                   LIST OF EQUITY SECURITY HOLDERS
 Following is the list of the Debtor's equity security holders which is prepared in accordance with rule I 007(a)(3) for filing in this Chapter 11 Case

  Name and last known address or place of                    Security Class Number of Securities                              Kind of Interest
  business of holder
 Anthony Alcazar                                             common                81%
 1112 Arroyo Street, #1
 San Fernando, CA 91340

 Ronald Alcazar                                              common                19%
 6258 Peach Avenue
 Van Nuys, CA 91411


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, Anthony Alcazar, the President of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date 2/28/2024                                                          Signature - - --------------
                                                                                        Anthony Alcazar

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet I of I in List of Equity Security Holders
              Case 1:24-bk-10228-VK                                        Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                                     Desc
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 Fill in this information to identify the case:

 Debtor name            Mr. Tortilla, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               1:24-bk-10228-VK
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,830,573.67

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,830,573.67


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,953,129.26


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           754,674.65

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,256,886.98


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         13,964,690.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 1:24-bk-10228-VK                    Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                            Desc
                                                     Main Document    Page 7 of 65
Fill in this information to identify the case:

Debtor name          Mr. Tortilla, Inc.

United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)        1:24-bk-10228-VK
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                        Checking account                      9918                                     $4,345.00




           3.2.     Metropolitan Capital Bank                         Checking account                      3373                                       $981.00




           3.3.     California Bank & Trust                           Checking account                      6630                                       $314.00




           3.4.     Chase Bank                                        Checking account                      8266                                       $912.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                      $6,552.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           Mr. Tortilla, Inc.                                                   Case number (If known) 1:24-bk-10228-VK
                 Name

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Security deposit for the 1112 #A Arroyo Street property (Landlord is 1102-1112 Arroyo
          7.1.     Street, LLC c/o JS/JS Properties, Inc,).                                                                       $7,500.00




          7.2.     Security deposit for the 1104 Arroyo Street property (Landlord)                                                $7,000.00




          7.3.     Security deposit for the 8134 Lankershim Street property (Landlord)                                           $34,000.00




          7.4.     Security deposit for the 1112 #B Arroyo Street property.                                                       $4,200.00




          7.5.     Security deposit for 1110 Arroyo Street (landlord)                                                             $2,065.50



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                 $54,765.50
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   596,698.00    -                                        = ....             $596,698.00
                                       face amount                      doubtful or uncollectible accounts



          11a. 90 days old or less:                     42,128.00   -                                        = ....              $42,128.00
                                       face amount                      doubtful or uncollectible accounts



          11a. 90 days old or less:                   116,577.00    -                                        = ....             $116,577.00
                                       face amount                      doubtful or uncollectible accounts



          11a. 90 days old or less:                      1,427.00   -                                        = ....               $1,427.00
                                       face amount                      doubtful or uncollectible accounts



          11a. 90 days old or less:                      7,631.81   -                                        = ....               $7,631.81
                                       face amount                      doubtful or uncollectible accounts




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                page 2
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Debtor       Mr. Tortilla, Inc.                                                             Case number (If known) 1:24-bk-10228-VK
             Name


          11b. Over 90 days old:                           74,000      -                               14,800 =....                    $59,200.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $823,661.81
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          Debtor has the following
          inventory: finished
          goods, ingredients, poly
          bags, boxes, ingredient
          batch pack, labels. The
          valuation is based on
          costs and some of the
          inventory includes
          perishable items. See
          the attached list for
          details of each
          inventory.                                                                                                                  $243,433.45



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                        $243,433.45
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
              Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                            Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
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Debtor       Mr. Tortilla, Inc.                                                             Case number (If known) 1:24-bk-10228-VK
             Name


      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Chairs, desks, cabinets, and other
          miscellaneous office furniture                                                                                               $1,000.00



40.       Office fixtures
          Walk-in coolers, equipment chairs, cubicles,
          desks, office related furniture, computers,
          phones, scales, and other miscellaneous
          office fixtures                                                                                                             $33,000.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, phones, and printers                                                                                              $1,000.00


          Equipment subject to Financial Pacific
          Leasing, Inc's lease; Contract #:
          001-1388475-302, dated 3/24/2022, together
          with all attachments, additions, accessories,
          substitutions, and replacements thereto.                                                                                    $12,600.00


          RSV2225 Solid Ink Coding Continuous Bak
          Sealer (one)                                                                                                                 $2,730.00


          Model TCO-400 3 Layer Flour Tortilla Oven,
          Gas Fired SN: BBD3969                                                                                                       $25,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $75,330.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes

Part 8:      Machinery, equipment, and vehicles

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        Mr. Tortilla, Inc.                                                        Case number (If known) 1:24-bk-10228-VK
              Name

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.   2007 INTL Refrigerated truck                                                                                     $6,200.00


           47.2.   2007 Honda Element                                                                                               $5,200.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery and Equipment (See the attached
           list).                                                                                                                 $615,430.91




51.        Total of Part 8.                                                                                                  $626,830.91
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

   Lease for property located at 1112 Arroyo St. Ste. B, San Fernando Valley, CA 91340.
   Lease for property located at 1104 Arroyo St., San Fernando, CA 91340.
   Lease for property located at 1112 Arroyo St. Ste. A, San Fernando Valley, CA 91340.
   Lease for property located at 8134 Lankershim Blvd., North Hollywood, CA 91605.
   Sublease for property located at 1110 Arroyo St., San Fernando, CA 91340.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 5
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Debtor        Mr. Tortilla, Inc.                                                           Case number (If known) 1:24-bk-10228-VK
              Name

60.        Patents, copyrights, trademarks, and trade secrets
           Trade secrets, formulas, patents for food.                                                                                 Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           City of San Fernando Business License Tax
           #02105847                                                                                                                        $0.00


           California Dept. of Tax & Fee Administration
           Seller's Permit #238661824                                                                                                       $0.00


           County of Los Angeles Public Health License
           #PR0202186                                                                                                                       $0.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Proprietary marketing content such as ads,
           videos, commercials. No liquidation value.                                                                                       $0.00



65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 6
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Debtor      Mr. Tortilla, Inc.                                                      Case number (If known) 1:24-bk-10228-VK
            Name

         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Debtor anticipates receiving Employee Retention
         Creditor (ERC) but the amount is unknown at this time.                                                               Unknown




78.      Total of Part 11.                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
           Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                              page 7
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Debtor          Mr. Tortilla, Inc.                                                                                  Case number (If known) 1:24-bk-10228-VK
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $6,552.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $54,765.50

82. Accounts receivable. Copy line 12, Part 3.                                                                   $823,661.81

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $243,433.45

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $75,330.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $626,830.91

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,830,573.67            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,830,573.67




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 8
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                                            Mr. Tortilla, Inc.
                                          Inventory Summary
                                             As of February 9, 2024

                                                                                   Total
  Finished Goods Inventory                                                         1 24,33629
 Ingredients Inventory                                                              55106.82
 Poly Bags Inventory                                                                 18,019.20
 Boxes Inventory                                                                     17,904.07
 Ingredient Batch Pack Inventory                                                    22,276.40
 Labels Inventory                                                                    5,790.67
 TOTAL                                                                         $   243,433.45




                                     Friday, Feb 09, 2024 01 :23:10 PM GMT-8
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                             Machinery and Equipment List as of Feb 9 2024
 Description                                           Liquidation Value                 Location
 Tortilla Manufacturing Line (Arroyo)
 300 lb Horizontal Dough Mixer                        $                    49,35000 1112 Arroyo St., San Fernando CA
 Water Metering and Cooling System                    $                    13,650.00 1112 Arroyo St., San Fernando CA
 Dough Rounder                                        $                    12,600.00 1112 Arroyo St., San Fernando CA
 Casa Herrera Tortilla Press                          $                    73,500.00 1112 Arroyo St., San Fernando CA
 Pre-Mix Tortilla Oven                                $                    73,500.00 1112 Arroyo St., San Fernando CA
 Tortilla Cooling Conveyor                            $                    52,500.00 1113 Arroyo St., San Fernando CA
 Metal Detector                                      $                      7,350.00 1112 Arroyo St., San Fernando CA
 Continuous Band Sealers (2x)                        $                      1,260.00 1112 Arroyo St., San Fernando CA
 Tortilla Counter- Stacker                           $                     15,750.00 1112 Arroyo St., San Fernando CA
                                                     $
 Tortilla Manufacturing Line (Lankershim)            $                               -




 Dough Rounder                                       $                     12,600.00 8134 Lankershim Blvd, North Hollywood CA
 150 lb Horizontal Dough Mixer                       $                     24,150.00 8134 Lankershim Blvd, North Hollywood CA
 Metal Detector                                      $                      5,250.00 8134 Lankershim Blvd, North Hollywood CA
 BBD Tortilla Press                                  $                     63,000.00 8134 Lankershim Blvd, North Hollywood CA
 BBD Cooling Conveyor                                $                     43,050.00 8134 Lankershim Blvd, North Hollywood CA
Continuous Band Sealers (2x)                         $                      1,260.00 8134 Lankershim BIvd, North Hollywood CA
Tortilla Counter-Stacker                             $                     14,280.00 8134 Lankershim Blvd, North Hollywood CA
                                                    $
 Chip Packaging Line (Lankershim)                   $                                -




Viking Masek M400 Vertical Form Fill and Sealer     $                       9,450.00 8134 Lankershim Blvd, North Hollywood CA
                                                    $
Chip Frying Line (Lankershim)                       $                            -




Deep Frying Equipment                               $                       2,520.00 8134 Lankershim Blvd, North Hollywood CA
                                                    $
Backup Machinery (Arroyo)                           $                            -




150 lb horizontal dough Mixer                       $                      22,050.00 1112 Arroyo St., San Fernando CA
600 lb Horizontal Dough Mixer                       $                      52,500.00 1104 Arroyo St., San Fernando, CA
1000 lb Horizontal Dough Mixer                      $                      63,000.00 1104 Arroyo St., San Fernando, CA
Dough Rounder                                       $                      12,600.00 1112 Arroyo St., San Fernando CA
Lawrence Tortilla Press                            $                       52,500.00 1104 Arroyo St., San Fernando, CA
Sateline Metal Detector                            $                        5,250.00 1104 Arroyo St., San Fernando, CA
Continuous Band Sealers (4x)                       $                        2,520.00 1112 Arroyo St., San Fernando CA
                                                   $
Miscellaneous Eqiupment                            $                             -




Hobart Double Rack Oven Gas Model DRO2G            $                       7,560.00 8134 Lankershim Blvd, North Hollywood CA
Hobart Double Rack Oven Gas Model DRO2G            $                       7,560.00 8134 Lankershim Blvd, North Hollywood CA
Pallet Wrapping Machine                            $                       2,415.00 1112 Arroyo St., San Fernando CA
Pallet Wrapping Machine                            $                       2,415.00 8134 Lankershim Blvd, North Hollywood CA
Material Handling Equipment                        $                       2,845.09 1112 Arroyo St., San Fernando CA
Utensils                                           $                       2,711.80 1112 Arroyo St., San Fernando CA




Total                                              $                  710,946.89
Accum. Depr.                                       $                  (95,515.98)


                                                   $                  615,430.91
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Fill in this information to identify the case:

Debtor name         Mr. Tortilla, Inc.

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)             1:24-bk-10228-VK
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   8Fig, Inc.                                   Describe debtor's property that is subject to a lien                  $299,590.14                       $0.00
      Creditor's Name                              Debtor's property as described in the UCC-1
      11801 Domain Blvd, Third                     Statement
      Floor
      Austin, TX 78758
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      12/14/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1725
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                           Contingent
          Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative         Disputed
      priority.



      Amazon Capital Services,
2.2                                                Describe debtor's property that is subject to a lien                  $751,539.61               $751,539.61
      Inc.
      Creditor's Name                              Debtor's assets as identified in the UCC-1
                                                   Financing Statement
      410 Trry Ave. N.
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      9/8/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5624
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 12
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. U.S. Small Business
      Administration
      2. Amazon Capital
      Services, Inc.

2.3   Blue Bridge Financial, Inc.                 Describe debtor's property that is subject to a lien                     $212,460.92       $25,000.00
      Creditor's Name                             Model TCO-400 3 Layer Flour Tortilla Oven,
      11921 Freedom Drive, Suite                  Gas Fired SN: BBD3969
      1130
      Reston, VA 20190
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 / Equipment Lease
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/13/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4834
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Bluevine                                    Describe debtor's property that is subject to a lien                     $180,356.88             $0.00
      Creditor's Name                             Debtor's assets as identified in the UCC-1
      30 Montgomery Street, Ste                   financing statement
      1400
      Jersey City, NJ 07302
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Cedar Advance                               Describe debtor's property that is subject to a lien                     $300,000.00             $0.00
      Creditor's Name                             Debtor's assets as identified in the UCC-1
                                                  financing statement
      2917 Avenue I
      Brooklyn, NY 11210
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 12
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)    1:24-bk-10228-VK
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                                      Unknown. UCC
                                                                                                                                            Statement
                                                                                                                                              does not
                                                                                                                                          identify the
                                                                                                                                               secured
                                                                                                                                              creditor.
                                                                                                                                                Debtor
                                                                                                                                      contacted CSC
2.6                                                                                                                                    and is waiting
                                                                                                                                            to receive
                                                                                                                                         information
                                                                                                                                             about the
                                                                                                                                           underlying
                                                                                                                                               secured
                                                                                                                                           creditor to
      Corporation Service                                                                                                                  amend the
      Company                                     Describe debtor's property that is subject to a lien                     Unknown         schedules.
      Creditor's Name                             Debtor's assets as described in UCC-1
      As Representative                           financing statement
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/30/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6030
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 12
           Case 1:24-bk-10228-VK                         Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                  Desc
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)    1:24-bk-10228-VK
            Name

                                                                                                                                      Unknown. UCC
                                                                                                                                           Statement
                                                                                                                                              does not
                                                                                                                                          identify the
                                                                                                                                               secured
                                                                                                                                              creditor.
                                                                                                                                                Debtor
                                                                                                                                      contacted CSC
2.7                                                                                                                                    and is waiting
                                                                                                                                            to receive
                                                                                                                                         information
                                                                                                                                             about the
                                                                                                                                           underlying
                                                                                                                                               secured
                                                                                                                                           creditor to
      Corporation Service                                                                                                                  amend the
      Company                                     Describe debtor's property that is subject to a lien                     Unknown         schedules
      Creditor's Name                             Debtor's assets as described in UCC-1
      As Representative                           financing statement
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/27/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1220
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                                      Unknown. UCC
                                                                                                                                           Statement
                                                                                                                                              does not
                                                                                                                                          identify the
                                                                                                                                               secured
                                                                                                                                              creditor.
                                                                                                                                                Debtor
                                                                                                                                      contacted CSC
2.8                                                                                                                                    and is waiting
                                                                                                                                            to receive
                                                                                                                                         information
                                                                                                                                             about the
                                                                                                                                           underlying
                                                                                                                                               secured
                                                                                                                                           creditor to
      CT Corporation Service                                                                                                               amend the
      Company                                     Describe debtor's property that is subject to a lien                     Unknown         schedules
      Creditor's Name                             Debtor's assets as described in UCC-1
      as Representative                           financing statement
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC-1


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4 of 12
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)    1:24-bk-10228-VK
            Name

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/23/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2926
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   CT Corporation System                       Describe debtor's property that is subject to a lien                     $2,000.00           $2,730.00
      Creditor's Name                             RSV2225 Solid Ink Coding Continuous Bak
      As Representative                           Sealer (one)
      330 N. Brand Blvd., Suite
      700
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/13/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4028
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Fasanara Securitisation
0     S.A. Acting                                 Describe debtor's property that is subject to a lien                     Unknown         Unknown
      Creditor's Name                             Debtor's assets as described in UCC-1
      For and On Behalf of Its                    financing statement
      Compartmen
      36-38 Grand-RUE
      Grand Duchy of
      Luxembourg
      Grand Duchy of
      Luxembourt 1660
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      9/20/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5230
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)     1:24-bk-10228-VK
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Financial Pacific Leasing,
1     Inc.                                        Describe debtor's property that is subject to a lien                     $57,309.87       $12,600.00
      Creditor's Name                             Equipment subject to Financial Pacific
                                                  Leasing, Inc's lease; Contract #:
                                                  001-1388475-302, dated 3/24/2022, together
                                                  with all attachments, additions, accessories,
      PO Box 4568                                 substitutions, and replacements thereto.
      Auburn, WA 98001
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/24/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3025
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                                        Unknown. UCC
                                                                                                                                             Statement
                                                                                                                                               does not
                                                                                                                                            identify the
                                                                                                                                                secured
                                                                                                                                               creditor.
                                                                                                                                                  Debtor
                                                                                                                                        contacted First
                                                                                                                                              Corporate
2.1
                                                                                                                                         Solutions and
2
                                                                                                                                          is waiting to
                                                                                                                                                 receive
                                                                                                                                           information
                                                                                                                                              about the
                                                                                                                                             underlying
                                                                                                                                                secured
                                                                                                                                             creditor to
                                                                                                                                             amend the
      First Corporate Solutions                   Describe debtor's property that is subject to a lien                     Unknown           schedules
      Creditor's Name                             Debtor's assets as described in UCC-1
      as Representative                           financing statement
      914 S. Street
      Sacramento, CA 95811
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/31/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 6 of 12
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
            Name

      8433
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
3     Huntington Valley Bank                      Describe debtor's property that is subject to a lien                     $185,464.12             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
      990 Spring Garden Street                    financing statement
      700
      Philadelphia, PA 19123
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/28/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6422
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
4     Mercury Capital                             Describe debtor's property that is subject to a lien                      $23,634.71             $0.00
      Creditor's Name                             Machine
      27702 Crown Valley Pkwy
      Bldg D4 #205
      Ladera Ranch, CA 92694
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Metropolitan Capital Bank
5     & Trust                                     Describe debtor's property that is subject to a lien                     $252,670.14             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
                                                  financing statement
      9 East Ontario Street
      Chicago, IL 60611
      Creditor's mailing address                  Describe the lien
                                                  UCC-1

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 7 of 12
           Case 1:24-bk-10228-VK                         Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                    Desc
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
            Name

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/7/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2824
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Parkside Funding Group
6     LLC                                         Describe debtor's property that is subject to a lien                     $561,867.12             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
      865 Nj-33 Business 3 Unit                   financing statement
      192
      Freehold, NJ 07728
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/16/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0122
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     Partners Personnel                          Describe debtor's property that is subject to a lien                     $289,674.79             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
      Management Services, LLC                    financing statement
      3820 State Street, Ste B
      Santa Barbara, CA 93105
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/13/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6122
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 8 of 12
           Case 1:24-bk-10228-VK                         Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                    Desc
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
            Name

2.1   Robert Reiser and
8     Company                                     Describe debtor's property that is subject to a lien                       Unknown         Unknown
      Creditor's Name                             One VEMAG Model 500 Clontinuous Stuffer;
                                                  the equipment was returned
      725 Dedham Street
      Canton, MA 02021
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      9/22/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2131
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
9     Sand Park Capital LLC                       Describe debtor's property that is subject to a lien                 $4,654,334.00       $407,954.06
      Creditor's Name                             Debtor's assets as described in UCC-1
                                                  financing statement
      2917 Avenue I
      Brooklyn, NY 11210
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/16/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8027
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
0     Sellers Funding                             Describe debtor's property that is subject to a lien                     $118,500.04             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
      45 N. Broad Street, Suite                   financing statement
      100
      Ridgewood, NJ 07450
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 9 of 12
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Debtor      Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
1     Shopify Capital                             Describe debtor's property that is subject to a lien                      $23,198.85             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
      100 Shockoe Slip, 2nd                       financing statement
      Floor
      Richmond, VA 23219
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
2     Slope Advance                               Describe debtor's property that is subject to a lien                     $282,898.07             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
                                                  financing statement
      7 Freelon Street
      San Francisco, CA 94107
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
3     Spartan Capital                             Describe debtor's property that is subject to a lien                      $69,500.00             $0.00
      Creditor's Name                             Debtor's assets as described in UCC-1
                                                  financing statement
      371 E Main St, Suite 2
      Middletown, NY 10940
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 10 of 12
            Case 1:24-bk-10228-VK                         Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                         Desc
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Debtor       Mr. Tortilla, Inc.                                                                    Case number (if known)      1:24-bk-10228-VK
             Name

       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.2
4      Stor RB One Limited                         Describe debtor's property that is subject to a lien                       Unknown               Unknown
       Creditor's Name                             Debtor's assets as described in UCC-1
       14 Old Queen Street                         financing statement
       London, UK SW1H9HP
       GBR
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       10/27/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3329
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.2    U.S. Small Business
5      Administration                              Describe debtor's property that is subject to a lien                     $688,130.00          $688,130.00
       Creditor's Name                             Debtor's assets as described in UCC-1
                                                   financing statement
       10737 Gateway West, #300
       El Paso, TX 79935
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       5/22/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3462
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.2

3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $8,953,129.26

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.


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           Name


If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       8Fig, Inc.
       1717 W. 6th Street, Suite 335                                                                     Line   2.1
       Austin, TX 78703

       Amazon Capital Services
       PO Box 84837                                                                                      Line   2.2
       Seattle, WA 98124-6137

       Amazon Capital Services, Inc.
       c/o Davis Wright Tremaine LLP                                                                     Line   2.2
       Attn: Lauren Dorsett, Esq.
       A 920 5th Avenue, Suite 330
       Seattle, WA 98104-1610

       Financial Pacific Leasing, Inc.
       3455 S 344th Way #300                                                                             Line   2.11
       Auburn, WA 98001-9546

       Huntington Valley Bank
       First Citizen Square                                                                              Line   2.13
       15 South Main Street
       Mansfield, PA 16933-1590

       U.S. Small Business Administration
       c/o Elan S. Levey                                                                                 Line   2.25
       300 N. Los Angeles Street
       Fed. Bldg. Rm. 7516
       Los Angeles, CA 90012




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 12 of 12
            Case 1:24-bk-10228-VK                        Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                                 Desc
                                                         Main Document    Page 29 of 65
Fill in this information to identify the case:

Debtor name        Mr. Tortilla, Inc.

United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)           1:24-bk-10228-VK
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $40,972.14         $40,972.14
          Employee Development                                 Check all that apply.
          Department                                              Contingent
          PO Box 826203                                           Unliquidated
          Sacramento, CA 94230                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
          12/2022 - 6/2023                                     Taxes

          Last 4 digits of account number 5356                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                           $713,702.51          $713,702.51
          Internal Revenue Service                             Check all that apply.
          P O Box 7346                                            Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2020 - 2022                                          unfiled tax returns

          Last 4 digits of account number 5356                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 10
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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,041.04
         1102 - 1112 Arroyo Street, LLC                               Contingent
         c/o JS/JS Properties, Inc.                                   Unliquidated
         21625 Prairie Street                                         Disputed
         Chatsworth, CA 91311
                                                                   Basis for the claim: One-month delinquent rent for 1112 Arroyo Street,
         Date(s) debt was incurred 2024
                                                                   Suite B.
         Last 4 digits of account number n/a
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,589.00
         1102 - 1112 Arroyo Street, LLC                               Contingent
         c/o JS/JS Properties, Inc.                                   Unliquidated
         21625 Prairie Street                                         Disputed
         Chatsworth, CA 91311
                                                                   Basis for the claim: One-month unpaid rent for 1104 Arroyo St.
         Date(s) debt was incurred 2024
         Last 4 digits of account number n/a                       Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,775.00
         1102-1112 Arroyo Street, LLC                                 Contingent
         c/o JS/JS Properties, Inc.                                   Unliquidated
         Adam Saitman, CEO                                            Disputed
         21625 Prairie St
         Chatsworth, CA 91311                                      Basis for the claim: One-month delinquent rent for 1112 Arroyo Street,
                                                                   Ste A.
         Date(s) debt was incurred 2024
         Last 4 digits of account number n/a                       Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,929.72
         2Cube                                                        Contingent
         200 E Cedar Street                                           Unliquidated
         Ontario, CA 91761                                            Disputed
         Date(s) debt was incurred 2020 - 2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,083.57
         Allied Blending                                              Contingent
         121 Royal Road                                               Unliquidated
         Keokuk, IA 52632                                             Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,176.52
         Aramark                                                      Contingent
         2400 Market Street                                           Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,820.57
         ArcBest,Inc.                                                 Contingent
         3801 Old Greenwood Rd                                        Unliquidated
         Fort Smith, AR 72901                                         Disputed
         Date(s) debt was incurred 1/2024
                                                                   Basis for the claim: Goods sold
         Last 4 digits of account number n/a
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 10
           Case 1:24-bk-10228-VK                    Doc 39 Filed 02/28/24 Entered 02/28/24 19:55:49                                         Desc
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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,500.00
         Arrandas Tortilleria                                         Contingent
         1318 E. Scotts Avenue                                        Unliquidated
         Stockton, CA 95205                                           Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $38,204.46
         Attentive Mobile                                             Contingent
         221 River Street, Suite 9047                                 Unliquidated
         Hoboken, NJ 07030                                            Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $13,500.00
         Avask                                                        Contingent
         First Floor, Oceana House                                    Unliquidated
         39-49 Commercial Road                                        Disputed
         Southampton, Hampshire, SO15 1GA
                                                                   Basis for the claim: Vendor
         Date(s) debt was incurred 2020-2024
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $24,000.00
         Bakers Authority                                             Contingent
         59-21 Queens Midtown Expy                                    Unliquidated
         Maspeth, NY 11378                                            Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $92,000.00
         Brex                                                         Contingent
         650 S 500 W                                                  Unliquidated
         Salt Lake City, UT 84101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $36,142.99
         Chase                                                        Contingent
         700 Kansas Lane                                              Unliquidated
         Monroe, LA 71203                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $22,857.70
         Ciuti                                                        Contingent
         10865 Jersey Blvd.                                           Unliquidated
         Rancho Cucamonga, CA 91730                                   Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,510.00
         Dekirmendjian Family Trust                                   Contingent
         8120 Lankershim Blvd.                                        Unliquidated
         North Hollywood, CA 91605                                    Disputed
         Date(s) debt was incurred 2024
                                                                   Basis for the claim: One-month delinquent rent
         Last 4 digits of account number n/a
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $79,716.75
         Divvy                                                        Contingent
         13707 S 200 W STE 100                                        Unliquidated
         Draper, UT 84020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $571,894.85
         EasyPost                                                     Contingent
         2889 Ashton Boulevard, Suite 325                             Unliquidated
         Lehi, UT 84043                                               Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $368,070.85
         Facebook                                                     Contingent
         1601 Willow Road                                             Unliquidated
         Menlo Park, CA 94025                                         Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $197,636.16
         Fleetcor Technologies Inc.                                   Contingent
         3280 Peachtree Road, Ste 2400                                Unliquidated
         Atlanta, GA 30305                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $31,797.14
         Frisbi                                                       Contingent
         1267 57th Street, Ground Floor                               Unliquidated
         Brooklyn, NY 11219                                           Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $27,482.47
         Google                                                       Contingent
         1600 Amphitheatre Pkwy                                       Unliquidated
         Mountain View, CA 94043                                      Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $538,200.44
         Greenberg Traurig                                            Contingent
         1840 Century Park East, Ste 1900                             Unliquidated
         Los Angeles, CA 90067                                        Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,000.00
         ICW                                                          Contingent
         15025 Innovation Drive                                       Unliquidated
         San Diego, CA 92128                                          Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,793.00
         Intelligent Relations                                        Contingent
         588a Godfrey Rd. W                                           Unliquidated
         Weston, CT 06883                                             Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,333.80
         Intralox LLC                                                 Contingent
         PO Box 730367                                                Unliquidated
         Dallas, TX 75373-0367                                        Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $172,419.46
         Jeeves                                                       Contingent
         2035 Sunset Lake Rd. Suite B-2                               Unliquidated
         Newark, DE 19702                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,463.64
         Keynes Digital                                               Contingent
         12655 W Jefferson Blvd                                       Unliquidated
         Los Angeles, CA 90066                                        Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $31,800.00
         KTLA                                                         Contingent
         Nexstar Media Inc.                                           Unliquidated
         5000 Riverside Pkwy, Blvd 5 Ste 200                          Disputed
         San Fernando, CA 91340
                                                                   Basis for the claim: Invoices
         Date(s) debt was incurred
         Last 4 digits of account number 3549                      Is the claim subject to offset?     No       Yes




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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,027.65
         Lobasso                                                      Contingent
         18627 Brookhurst St., #515                                   Unliquidated
         Fountain Valley, CA 92708                                    Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $176,748.74
         Lyneer Staffing                                              Contingent
         1011 Whitehead Rd Ext                                        Unliquidated
         Trenton, NJ 08638                                            Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $45,299.49
         MNTN                                                         Contingent
         823 Congress Avenue, #1827                                   Unliquidated
         Austin, TX 78768                                             Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,000.00
         Nielson IQ                                                   Contingent
         6255 Sunset Blvd                                             Unliquidated
         Los Angeles, CA 90028                                        Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $16,378.41
         Old Dominion Freight Line                                    Contingent
         500 Old Dominion Way                                         Unliquidated
         Thomasville, NC 27360                                        Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,171.14
         Onetext                                                      Contingent
         236 West Portal Avenue, #166                                 Unliquidated
         San Francisco, CA                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Invoice
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,000.00
         Open Sponsorship                                             Contingent
         122 W 26th Street, Fl 2                                      Unliquidated
         New York, NY 10001                                           Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 10
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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,315.91
         Orkin                                                        Contingent
         2170 Piedmont Rd NE                                          Unliquidated
         Atlanta, GA 30324-4135                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $354,883.23
         Parker Group, Inc.                                           Contingent
         2261 Market Street, #4106                                    Unliquidated
         San Francisco, CA 94114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $159,436.60
         Partnership Staffing                                         Contingent
         1230 San Fernando Rd. Suite K                                Unliquidated
         San Fernando, CA 91340                                       Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $30,466.63
         Pawnee Leasing                                               Contingent
         3801 Automation Way, Ste 207                                 Unliquidated
         Fort Collins, CO 80525
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Open invoice
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $66,356.61
         Perpetua                                                     Contingent
         36 Maplewood Avenue                                          Unliquidated
         Portsmouth, NH 03801                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Advertising services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,000.00
         Post Script                                                  Contingent
         3370 North Hayden Road                                       Unliquidated
         Scottsdale, AZ 85254                                         Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,866.06
         Quench USA, Inc.                                             Contingent
         14800 Frye Road, 2nd Floor                                   Unliquidated
         Fort Worth, TX 76155                                         Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 10
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Debtor      Mr. Tortilla, Inc.                                                              Case number (if known)            1:24-bk-10228-VK
            Name

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $302,708.98
         Ramp                                                         Contingent
         28 West 23rd Street, Floor 2                                 Unliquidated
         Washington, DC 20020                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,038.39
         Rapid Fulfillment LLC                                        Contingent
         12924 Piernce Street                                         Unliquidated
         Pacoima, CA 91331                                            Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $52,770.00
         Resnik Hayes Moradi LLP                                      Contingent
         17609 Ventura Blvd., Suite 314                               Unliquidated
         Encino, CA 91316                                             Disputed
         Date(s) debt was incurred 2018 - 2020
                                                                   Basis for the claim: Legal fees
         Last 4 digits of account number n/a
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $158,210.00
         Saker Shoprites, Inc.                                        Contingent
         10 Centerville Road                                          Unliquidated
         Holmdel, NJ 07733                                            Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $85,059.69
         Southern California Edison                                   Contingent
         2244 Walnut Grove Avenue                                     Unliquidated
         Rosemead, CA 91770                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $126,228.26
         Storfund                                                     Contingent
         14 Old Queen Street                                          Unliquidated
         London, SW1H9HP United Kingdom                               Disputed
         Date(s) debt was incurred 2020-2024
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $32,171.51
         Taboola                                                      Contingent
         16 Madison Square West, 7th Floor                            Unliquidated
         Date(s) debt was incurred 2020-2024                          Disputed
         Last 4 digits of account number                           Basis for the claim: Vendor

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 10
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Debtor       Mr. Tortilla, Inc.                                                                     Case number (if known)            1:24-bk-10228-VK
             Name

3.50      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,296.51
          Take 2 Production Services Inc.                                      Contingent
          1310 Cypress Avenue                                                  Unliquidated
          Los Angeles, CA 90065                                                Disputed
          Date(s) debt was incurred 2023 - 2024
                                                                           Basis for the claim: Unpaid rent for 1110 Arroyo Street
          Last 4 digits of account number n/a
                                                                           Is the claim subject to offset?     No       Yes

3.51      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,570.23
          Teikametrics                                                         Contingent
          280 Summer Street                                                    Unliquidated
          Boston, MA 02210                                                     Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.52      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $17,680.82
          Tiktok                                                               Contingent
          5800 Bristol Parkway C3                                              Unliquidated
          Culver City, CA 90230                                                Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.53      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,583.33
          Total Quality Logistics                                              Contingent
          4289 Ivy Pointe Blvd                                                 Unliquidated
          Cincinnati, OH 45245                                                 Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.54      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $21,747.80
          Uline                                                                Contingent
          12575 Uline Drive, H1                                                Unliquidated
          Pleasant Prairie, WI 53158                                           Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.55      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $99,993.00
          UPS                                                                  Contingent
          55 Glenlake Parkway NE                                               Unliquidated
          Atlanta, GA 30328                                                    Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.56      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $63,138.86
          We Pack It All                                                       Contingent
          2745 Huntington Drive                                                Unliquidated
          Duarte, CA 91010                                                     Disputed
          Date(s) debt was incurred 2020-2024
                                                                           Basis for the claim: Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       KTLA
          c/o Law Offices of Gary A. Bemis                                                      Line     3.28
          3870 La Sierra Avenue, Ste 239
                                                                                                       Not listed. Explain
          Riverside, CA 92505

4.2       LaSource Group
          PO Box 422                                                                            Line     3.29
          North East, PA 16428
                                                                                                       Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                       5a.          $                    754,674.65
5b. Total claims from Part 2                                                                       5b.    +     $                  4,256,886.98

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.          $                    5,011,561.63




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 10 of 10
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Fill in this information to identify the case:

Debtor name       Mr. Tortilla, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)     1:24-bk-10228-VK
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for property
           lease is for and the nature of        located at 1112 Arroyo
           the debtor's interest                 St. Ste. B, San
                                                 Fernando Valley, CA
                                                 91340. It's a warehouse
                                                 space (2169 sq. ft) with
                                                 a small office. Lease
                                                 commence 6/1/2022
                                                 and will terminate
                                                 5/31/2027. Monthly
                                                 payment is $3,798.
                                                 Security deposit is
                                                 $4,200.
               State the term remaining          May 31, 2027                       1102 - 1112 Arroyo Street, LLC
                                                                                    c/o JS/JS Properties, Inc.
           List the contract number of any                                          21625 Prairie Street
                 government contract                                                Chatsworth, CA 91311


2.2.       State what the contract or            Lease for property
           lease is for and the nature of        located at 1104 Arroyo
           the debtor's interest                 St., San Fernando, CA
                                                 91340. The property is
                                                 a 5200 sq. ft warehouse
                                                 with small office. Lease
                                                 commence 10/1/2020,
                                                 lease termination
                                                 9/30/2025. Monthly
                                                 lease is $6,534.
                                                 Security deposit is
                                                 $7,000.
               State the term remaining          9/30/2025                          1102 - 1112 Arroyo Street, LLC
                                                                                    c/o JS/JS Properties, Inc.
           List the contract number of any                                          21625 Prairie Street
                 government contract                                                Chatsworth, CA 91311




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 Mr. Tortilla, Inc.                                                       Case number (if known)   1:24-bk-10228-VK
          First Name          Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.3.      State what the contract or         Lease for property
          lease is for and the nature of     located at 1112 Arroyo
          the debtor's interest              St. Ste. A, San
                                             Fernando Valley, CA
                                             91340 for a tortilla
                                             manufacturing
                                             warehouse (5200 sq.
                                             ft). Lease commence
                                             6/1/2016 and will
                                             terminate in on
                                             9/30/2025. Current
                                             monthly payment is
                                             $7,036.                      1102-1112 Arroyo Street, LLC
             State the term remaining        September 30, 2025           c/o JS/JS Properties, Inc.
                                                                          c/o Adam Saitman, CEO
          List the contract number of any                                 21625 Prairie St
                government contract                                       Chatsworth, CA 91311


2.4.      State what the contract or         Lease for property
          lease is for and the nature of     located at 8134
          the debtor's interest              Lankershim Blvd.,
                                             North Hollywood, CA
                                             91605. The premises is
                                             used for food
                                             production. Lease
                                             commence 9/15/2022.
                                             Lease termination
                                             10/31/2027. Monthly
                                             rent is $17,510.00.
                                             Security deposit is
                                             $34,000.
             State the term remaining        10/31/2027
                                                                          Dekirmendjian Family Trust
          List the contract number of any                                 8120 Lankershim Blvd.
                government contract                                       North Hollywood, CA 91605


2.5.      State what the contract or         Sublease for property
          lease is for and the nature of     located at 1110 Arroyo
          the debtor's interest              St., San Fernando, CA
                                             91340. The property is
                                             used as an office space
                                             (appx. 1875 sq. ft).
                                             Lease commence:
                                             11/1/2020. Lease
                                             termination 10/31/2024.
                                             Monthly rent is
                                             $2,400.00. Security
                                             deposit is $2,065.50.
             State the term remaining        October 31, 2024
                                                                          Take 2 Production Services Inc.
          List the contract number of any                                 1310 Cypress Ave
                government contract                                       Los Angeles, CA 90065



Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Mr. Tortilla, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)   1:24-bk-10228-VK
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Anthony Alcazar             1112 Arroyo Street, Suite 1                               Parkside Funding                   D   2.16
                                      San Fernando, CA 91340                                    Group LLC                          E/F
                                                                                                                                   G




   2.2    Anthony Alcazar             1112 Arroyo Street, Suite 1                               CT Corporation                     D   2.8
                                      San Fernando, CA 91340                                    Service Company                    E/F
                                                                                                                                   G




   2.3    Mister Tortilla             1112 Arroyo Street                                        CT Corporation                     D   2.8
                                      San Fernando, CA 91340                                    Service Company                    E/F
                                                                                                                                   G




   2.4    Mr. Tortilla                6485 West 24 Avenue, Apt 605                              CT Corporation                     D   2.8
          Consulting Corp.            Hialeah, FL 33016                                         Service Company                    E/F
                                                                                                                                   G




   2.5    Anthony Alcazar             1112 Arroyo Street, #1                                    1102 - 1112 Arroyo                 D
                                      San Fernando, CA 91340                                    Street, LLC                        E/F
                                                                                                                                   G   2.2




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Ronald Alcazar           6258 Peach Avenue                                   1102 - 1112 Arroyo                 D
                                   Van Nuys, CA 91411                                  Street, LLC                        E/F
                                                                                                                          G   2.2




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Mr. Tortilla, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)      1:24-bk-10228-VK
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $834,430.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $5,440,000.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                           $10,251,260.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Mr. Tortilla, Inc.                                                                 Case number (if known) 1:24-bk-10228-VK



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Debtor is working on the list and                                                            $0.00              Secured debt
              will file an amendment when the list of                                                                         Unsecured loan repayments
              creditors who received payments                                                                                 Suppliers or vendors
              within                                                                                                          Services
              90 days is completed
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Anthony Alcazar                                      2023                            $130,000.00           Wages
              1112 Arroyo Street, #1
              San Fernando, CA 91340
              President

      4.2.    Ronald Alcazar                                       2023                            $114,000.00           Wages
              6258 Peach Avenue
              Van Nuys, CA 91411
              COO

      4.3.    Tony Alcazar                                         2023                            $104,000.00           Wages
              6258 Peach Avenue
              Van Nuys, CA 91411
              Father of the principal & consultant

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address

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Debtor        Mr. Tortilla, Inc.                                                                 Case number (if known) 1:24-bk-10228-VK



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                 Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                      value
                Address
      11.1.     Law Offices of Michael Jay
                Berger
                9454 Wilshire Boulevard, 6th
                floor
                Beverly Hills, CA 90212                 Attorney Fees                                                 2/7/2024                $20,000.00

                Email or website address
                michael.berger@bankruptcypower.c
                om

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.




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      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was                Last balance
              Address                                  account number              instrument                  closed, sold,               before closing or
                                                                                                               moved, or                            transfer
                                                                                                               transferred

19. Safe deposit boxes
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    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.



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      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Debbie Tyrell                                                                                                      2018 - present
                    1865 E. Villa Street
                    Pasadena, CA 91107

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Debbie Tyrell
                    1865 E. Villa Street
                    Pasadena, CA 91107
      26c.2.        Ronald Alcazar
                    6258 Peach Avenue
                    Van Nuys, CA 91411

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.




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             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Ronald Alcazar                                                                                   $243,433.45 liquidation value for
      .                                                                            February 7,              Inventory (see the list attached to
                                                                                   2024                     Schedule A/B)

             Name and address of the person who has possession of
             inventory records
             Mr. Tortilla, Inc.
             1112 Arroyo Street, Suite 1
             San Fernando, CA 91340


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Anthony Alcazar                        1112 Arroyo Street, #1                              President and CEO                       81%
                                             San Fernando, CA 91340                                                                      ownership
                                                                                                                                         interest
      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ronald Alcazar                         6258 Peach Avenue                                   COO                                     19%
                                             Van Nuys, CA 91411                                                                          ownership
                                                                                                                                         interest


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Anthony Alcazar
      .    1112 Arroyo Street, #1
             San Fernando, CA 91340                   130,000                                                   2023                Wages

             Relationship to debtor
             President


      30.2 Ronald Alcazar
      .    6258 Peach Avenue
             Van Nuys, CA 91411                       114,000                                                   2023                Wages

             Relationship to debtor
             COO




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
                                 ______________                    ______              _____________________________
                                                                                                 __________
                     ___________________________
            __________




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  Debtor       Mr. Tortilla, Inc.                                                                  Case number(fknown       1:24-bk-10228-VK



                    Name and address of recipient        Amount of money or description and value of                Dates             Reason for
                                                         property                                                                     providing the value
        30.3    Tony Alcazar
                6258 Peach Avenue
                Van Nuys, CA 91411                       104,000                                                    2023              Wages

                Relationship to debtor
                Father of principal and
                cousultant___________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       I     No
       1J    Yes. Identify below.

    Name of the parent corporation                                                                       Employer Identification number of the parent
                                                                                                         corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       I     No
       C     Yes. Identify below.

    Name of the pension fund                                                                             Employer Identification number of the pension
                                                                                                         fund

I1i Signature and Declaration

      WARNING      Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
                       --



      connection with a bankruptcy case can result in tines up to $500,000 or imprisonment for up to 20 years, or both
      18 U.S.C. § 152, 1341, 1519, and 3571

      I have examined the information in this Statement of FinancialAffairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed      on
                            2-28-24
                                                                 Anthony Alcazar
 Signature of individual signing on behalf of the debtor          Printed name

 Position or relationship to debtor     President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
• No
C Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Central District of California
 In re       Mr. Tortilla, Inc.                                                                               Case No.      1:24-bk-10228-VK
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept A RETAINER OF                                    $                 20,000.00
             Prior to the filing of this statement I have received A RETAINER OF                          $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     2/28/2024                                                                /s/ Michael Jay Berger
     Date                                                                     Michael Jay Berger
                                                                              Signature of Attorney
                                                                              Law Offices of Michael Jay Berger
                                                                              9454 Wilshire Boulevard, 6th floor
                                                                              Beverly Hills, CA 90212
                                                                              (310) 271-6223 Fax: (310) 271-9805
                                                                              michael.berger@bankruptcypower.com
                                                                              Name of law firm
          __________________________________________
          _____________   _______________________
               __________________              ______                                      ________________________________
                                                                                            _________________________________
                                                                                            _______
                                                                                              ______               ___________




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 Attorney or Party Name, Address, Telephone & FAX Nos.,                                FOR COURT USE ONLY
 State Bar No. & Email Address
 Michael Jay Berger
 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax: (310) 271-9805
 California State Bar Number: 100291 CA
 michael.berger@bankruptcypower.com




      Debtor(s) appearing without an attorney
 [J   Attorney for Debtor

                                                        UNITED STATES BANKRUPTCY COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                       CASE NO.: 1:24-bk-I 0228-VK
               Mr. Tortilla, Inc.
                                                                                       CHAPTER: 11




                                                                                                  AMENDED VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                        [LBR 1007-1 (a)]

                                                                   Debtor(s),

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 13 sheet(s) is complete, correct, and
consistent with the Debtor’s schedules and I/we assume all responsibility for errors and omissions.

 Date:
            2-28-24
                                                                                             Signature of Debtor 1

 Date:
                                                                                             Signature of Debtor 2 aoint debtor)) (if applicable)

Date: 2/24/2024                                                                              /s/Michael Jay Berger
                                                                                             Signature of Attorney for Debtor (if applicable)




                      This form is optional, It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December2015                                                                                           F 10071.MAILING.LIST.VERIFICATION
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                        Mr. Tortilla, Inc.
                        1112 Arroyo Street, Suite 1
                        San Fernando, CA 91340


                        Michael Jay Berger
                        Law Offices of Michael Jay Berger
                        9454 Wilshire Boulevard, 6th floor
                        Beverly Hills, CA 90212


                        1102 - 1112 Arroyo Street, LLC
                        c/o JS/JS Properties, Inc.
                        21625 Prairie Street
                        Chatsworth, CA 91311


                        1102-1112 Arroyo Street, LLC
                        c/o JS/JS Properties, Inc.
                        Adam Saitman, CEO
                        21625 Prairie St
                        Chatsworth, CA 91311


                        1102-1112 Arroyo Street, LLC
                        c/o JS/JS Properties, Inc.
                        c/o Adam Saitman, CEO
                        21625 Prairie St
                        Chatsworth, CA 91311


                        2Cube
                        200 E Cedar Street
                        Ontario, CA 91761


                        8Fig, Inc.
                        11801 Domain Blvd, Third Floor
                        Austin, TX 78758


                        8Fig, Inc.
                        1717 W. 6th Street, Suite 335
                        Austin, TX 78703
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                    Allied Blending
                    121 Royal Road
                    Keokuk, IA 52632


                    Amazon Capital Services
                    PO Box 84837
                    Seattle, WA 98124-6137


                    Amazon Capital Services, Inc.
                    410 Trry Ave. N.
                    Seattle, WA 98109


                    Amazon Capital Services, Inc.
                    c/o Davis Wright Tremaine LLP
                    Attn: Lauren Dorsett, Esq.
                    A 920 5th Avenue, Suite 330
                    Seattle, WA 98104-1610


                    Anthony Alcazar
                    1112 Arroyo Street, Suite 1
                    San Fernando, CA 91340


                    Anthony Alcazar
                    1112 Arroyo Street, #1
                    San Fernando, CA 91340


                    Aramark
                    2400 Market Street
                    Philadelphia, PA 19103


                    ArcBest,Inc.
                    3801 Old Greenwood Rd
                    Fort Smith, AR 72901
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                    Arrandas Tortilleria
                    1318 E. Scotts Avenue
                    Stockton, CA 95205


                    Attentive Mobile
                    221 River Street, Suite 9047
                    Hoboken, NJ 07030


                    Avask
                    First Floor, Oceana House
                    39-49 Commercial Road
                    Southampton, Hampshire, SO15 1GA


                    Bakers Authority
                    59-21 Queens Midtown Expy
                    Maspeth, NY 11378


                    Blue Bridge Financial, Inc.
                    11921 Freedom Drive, Suite 1130
                    Reston, VA 20190


                    Bluevine
                    30 Montgomery Street, Ste 1400
                    Jersey City, NJ 07302


                    Brex
                    650 S 500 W
                    Salt Lake City, UT 84101


                    Cedar Advance
                    2917 Avenue I
                    Brooklyn, NY 11210
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                    Chase
                    700 Kansas Lane
                    Monroe, LA 71203


                    Ciuti
                    10865 Jersey Blvd.
                    Rancho Cucamonga, CA 91730


                    Corporation Service Company
                    As Representative
                    PO Box 2576
                    Springfield, IL 62708


                    CT Corporation Service Company
                    as Representative
                    PO Box 2576
                    Springfield, IL 62708


                    CT Corporation System
                    As Representative
                    330 N. Brand Blvd., Suite 700
                    Glendale, CA 91203


                    Dekirmendjian Family Trust
                    8120 Lankershim Blvd.
                    North Hollywood, CA 91605


                    Divvy
                    13707 S 200 W STE 100
                    Draper, UT 84020


                    EasyPost
                    2889 Ashton Boulevard, Suite 325
                    Lehi, UT 84043
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                    Employee Development Department
                    PO Box 826203
                    Sacramento, CA 94230


                    Facebook
                    1601 Willow Road
                    Menlo Park, CA 94025


                    Fasanara Securitisation S.A. Acting
                    For and On Behalf of Its Compartmen
                    36-38 Grand-RUE
                    Grand Duchy of Luxembourg
                    Grand Duchy of Luxembourt 1660


                    Financial Pacific Leasing, Inc.
                    PO Box 4568
                    Auburn, WA 98001


                    Financial Pacific Leasing, Inc.
                    3455 S 344th Way #300
                    Auburn, WA 98001-9546


                    First Corporate Solutions
                    as Representative
                    914 S. Street
                    Sacramento, CA 95811


                    Fleetcor Technologies Inc.
                    3280 Peachtree Road, Ste 2400
                    Atlanta, GA 30305


                    Frisbi
                    1267 57th Street, Ground Floor
                    Brooklyn, NY 11219
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                    Google
                    1600 Amphitheatre Pkwy
                    Mountain View, CA 94043


                    Greenberg Traurig
                    1840 Century Park East, Ste 1900
                    Los Angeles, CA 90067


                    Huntington Valley Bank
                    990 Spring Garden Street 700
                    Philadelphia, PA 19123


                    Huntington Valley Bank
                    First Citizen Square
                    15 South Main Street
                    Mansfield, PA 16933-1590


                    ICW
                    15025 Innovation Drive
                    San Diego, CA 92128


                    Intelligent Relations
                    588a Godfrey Rd. W
                    Weston, CT 06883


                    Internal Revenue Service
                    P O Box 7346
                    Philadelphia, PA 19101-7346


                    Intralox LLC
                    PO Box 730367
                    Dallas, TX 75373-0367
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                    Jeeves
                    2035 Sunset Lake Rd. Suite B-2
                    Newark, DE 19702


                    Keynes Digital
                    12655 W Jefferson Blvd
                    Los Angeles, CA 90066


                    KTLA
                    Nexstar Media Inc.
                    5000 Riverside Pkwy, Blvd 5 Ste 200
                    San Fernando, CA 91340


                    KTLA
                    c/o Law Offices of Gary A. Bemis
                    3870 La Sierra Avenue, Ste 239
                    Riverside, CA 92505


                    LaSource Group
                    PO Box 422
                    North East, PA 16428


                    Lobasso
                    18627 Brookhurst St., #515
                    Fountain Valley, CA 92708


                    Lyneer Staffing
                    1011 Whitehead Rd Ext
                    Trenton, NJ 08638


                    Mercury Capital
                    27702 Crown Valley Pkwy
                    Bldg D4 #205
                    Ladera Ranch, CA 92694
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                    Metropolitan Capital Bank & Trust
                    9 East Ontario Street
                    Chicago, IL 60611


                    Mister Tortilla
                    1112 Arroyo Street
                    San Fernando, CA 91340


                    MNTN
                    823 Congress Avenue, #1827
                    Austin, TX 78768


                    Mr. Tortilla Consulting Corp.
                    6485 West 24 Avenue, Apt 605
                    Hialeah, FL 33016


                    Nielson IQ
                    6255 Sunset Blvd
                    Los Angeles, CA 90028


                    Old Dominion Freight Line
                    500 Old Dominion Way
                    Thomasville, NC 27360


                    Onetext
                    236 West Portal Avenue, #166
                    San Francisco, CA


                    Open Sponsorship
                    122 W 26th Street, Fl 2
                    New York, NY 10001
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                    Orkin
                    2170 Piedmont Rd NE
                    Atlanta, GA 30324-4135


                    Parker Group, Inc.
                    2261 Market Street, #4106
                    San Francisco, CA 94114


                    Parkside Funding Group LLC
                    865 Nj-33 Business 3 Unit 192
                    Freehold, NJ 07728


                    Partners Personnel
                    Management Services, LLC
                    3820 State Street, Ste B
                    Santa Barbara, CA 93105


                    Partnership Staffing
                    1230 San Fernando Rd. Suite K
                    San Fernando, CA 91340


                    Pawnee Leasing
                    3801 Automation Way, Ste 207
                    Fort Collins, CO 80525


                    Perpetua
                    36 Maplewood Avenue
                    Portsmouth, NH 03801


                    Post Script
                    3370 North Hayden Road
                    Scottsdale, AZ 85254
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                    Quench USA, Inc.
                    14800 Frye Road, 2nd Floor
                    Fort Worth, TX 76155


                    Ramp
                    28 West 23rd Street, Floor 2
                    Washington, DC 20020


                    Rapid Fulfillment LLC
                    12924 Piernce Street
                    Pacoima, CA 91331


                    Resnik Hayes Moradi LLP
                    17609 Ventura Blvd., Suite 314
                    Encino, CA 91316


                    Robert Reiser and Company
                    725 Dedham Street
                    Canton, MA 02021


                    Ronald Alcazar
                    6258 Peach Avenue
                    Van Nuys, CA 91411


                    Saker Shoprites, Inc.
                    10 Centerville Road
                    Holmdel, NJ 07733


                    Sand Park Capital LLC
                    2917 Avenue I
                    Brooklyn, NY 11210
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                    Sellers Funding
                    45 N. Broad Street, Suite 100
                    Ridgewood, NJ 07450


                    Shopify Capital
                    100 Shockoe Slip, 2nd Floor
                    Richmond, VA 23219


                    Slope Advance
                    7 Freelon Street
                    San Francisco, CA 94107


                    Southern California Edison
                    2244 Walnut Grove Avenue
                    Rosemead, CA 91770


                    Spartan Capital
                    371 E Main St, Suite 2
                    Middletown, NY 10940


                    Stor RB One Limited
                    14 Old Queen Street
                    London, UK SW1H9HP GBR


                    Storfund
                    14 Old Queen Street
                    London, SW1H9HP United Kingdom


                    Taboola
                    16 Madison Square West, 7th Floor
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                    Take 2 Production Services Inc.
                    1310 Cypress Avenue
                    Los Angeles, CA 90065


                    Take 2 Production Services Inc.
                    1310 Cypress Ave
                    Los Angeles, CA 90065


                    Teikametrics
                    280 Summer Street
                    Boston, MA 02210


                    Tiktok
                    5800 Bristol Parkway C3
                    Culver City, CA 90230


                    Total Quality Logistics
                    4289 Ivy Pointe Blvd
                    Cincinnati, OH 45245


                    U.S. Small Business Administration
                    10737 Gateway West, #300
                    El Paso, TX 79935


                    U.S. Small Business Administration
                    c/o Elan S. Levey
                    300 N. Los Angeles Street
                    Fed. Bldg. Rm. 7516
                    Los Angeles, CA 90012


                    Uline
                    12575 Uline Drive, H1
                    Pleasant Prairie, WI 53158
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                    UPS
                    55 Glenlake Parkway NE
                    Atlanta, GA 30328


                    We Pack It All
                    2745 Huntington Drive
                    Duarte, CA 91010
